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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


SHLOMO LEIBOVITCH, et al.,

              Plaintiffs,                         Civil Case No. 08 C 1939

v.                                                Hon. Ruben Castillo

ISLAMIC REPUBLIC OF IRAN,
THE, et al.,

              Defendants.



           NON-PARTY THE BANK OF TOKYO-MITSUBISHI UFJ, LTD.’S
        MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR LIMITED
         INTERVENTION AND TO QUASH THE CITATION AND SUBPOENA



Bruce E. Clark                              Christopher M. Viapiano
Bradley P. Smith                            SULLIVAN & CROMWELL LLP
SULLIVAN & CROMWELL LLP                     1700 New York Avenue, N.W., Suite 700
125 Broad Street                            Washington, D.C. 20006
New York, New York 10004                    Tel.: (202) 956-7500
Tel.: (212) 558-4000                        Fax: (202) 956-7056
Fax: (212) 558-3588                         viapianoc@sullcrom.com
clarkb@sullcrom.com
smithbr@sullcrom.com                        Britt M. Miller
                                            MAYER BROWN LLP
Of Counsel                                  71 South Wacker Drive
                                            Chicago, Illinois 60606
                                            Tel.: (312) 782-0600
                                            Fax: (312) 701-7711
                                            bmiller@mayerbrown.com

                                            Attorneys for non-party The Bank
                                                of Tokyo-Mitsubishi UFJ, Ltd.



October 22, 2015
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        Non-party The Bank of Tokyo-Mitsubishi UFJ, Ltd. (“BTMU”) respectfully submits this

memorandum in support of its motion for limited intervention and to quash the citation to

discover assets and subpoena under Rule 45 served on the Chicago branch of BTMU

(“BTMUIL”) on August 24, 2015 (“Citation” and “Subpoena”) insofar as they purport to apply

to assets, documents and information held by BTMU outside of Illinois.

                                 PRELIMINARY STATEMENT

        This motion arises from a post-judgment Citation and Subpoena issued by plaintiffs and

served on the Chicago branch of BTMU, a Japanese bank. Plaintiffs claim that the Citation and

Subpoena together require BTMU to search for and restrain assets of the judgment debtors and to

search for and produce documents about such assets held in any BTMU branch anywhere in the

world. The consequence of construing and enforcing the Citation and Subpoena in this way

would be to extend them to assets and documents that have no connection with the United States,

to subject BTMU to conflicting legal obligations, and to interfere with the banking laws of Japan,

a sovereign ally of the United States, and potentially of many other countries. Such an outcome

would, among other things: (i) improperly subject BTMU to personal jurisdiction in a

U.S. court; (ii) violate the presumption against construing Illinois’s judgment-enforcement

statute to have extraterritorial reach; (iii) conflict with the “separate entity rule,” which in the

judgment-enforcement context requires each branch of a bank to be treated as a separate entity;

(iv) fail to accord appropriate deference to the laws of Japan; (v) conflict with the strict limits

that apply under the Foreign Sovereign Immunities Act (“FSIA”) to efforts to collect on a

judgment against a foreign sovereign; (vi) subject BTMU to undue burden; and (vii) violate the

Constitution’s Dormant Commerce Clause. Accordingly, the Court should deny the Citation and

Subpoena extraterritorial reach.
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                                        BACKGROUND

       Plaintiffs obtained default judgments totaling $67 million against the Islamic Republic of

Iran and the Iranian Ministry of Information and Security (the “Judgment Debtors”) in this Court

on February 1, 2011 and March 31, 2014. (Dkt. Nos. 73, 107.) The Judgment Debtors did not

appear in or in any way contest the actions or the judgments. BTMU had no involvement in the

underlying litigation between plaintiffs and the Judgment Debtors. BTMU is organized under

the laws of Japan and headquartered in Tokyo. (Declaration of M. Cunningham, Oct. 21, 2015,

¶ 2.) It has branches in more than 40 countries, including numerous branches in Japan. (Id. ¶ 3.)

BTMU maintains one branch in Chicago, which offers banking services to a limited number of

corporate clients with offices in the mid-western United States. (Id. ¶¶ 4-5.)

       On August 24, 2015, plaintiffs served BTMUIL with the Citation and Subpoena. (Id. ¶ 1;

Declaration of C. Viapiano, Oct. 21, 2015, Exs. A & B.) The Citation seeks the identification of

assets that may be used to satisfy the judgments against the Judgment Debtors, and purports to

prohibit BTMU from “making or allowing any transfer or other disposition of” such assets. (Id.,

Ex. A at 2.) The Subpoena seeks the production of documents and information about any such

assets. (Id., Ex. B.) Plaintiffs have asserted that BTMU is “required to search” for assets,

documents and information not just at BTMUIL, but “any BTMU branch anywhere in the world.”

(Id., Ex. C.) The Citation and Subpoena originally called for a response by September 9, 2015,

but plaintiffs agreed to extend that date to October 9, 2015, and this Court later adjourned the

Citation hearing to December 9, 2015. (Id. ¶ 5; Dkt. No. 129.)

       In response to the Citation and Subpoena, BTMUIL conducted a reasonable search but

did not locate any information or assets relating to the Judgment Debtors. (Cunningham Decl.

¶¶ 9-10.) On October 6, 2015, BTMU wrote to plaintiffs to inform them of the results of its

search and, consistent with this Court’s Case Management Procedures, to explain why the


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Citation and Subpoena did not – and legally could not – extend beyond BTMUIL, much less to

assets and information outside of the United States. (Viapiano Decl., Ex. D.) BTMU served

formal responses and objections to the Citation and Subpoena on October 9. Counsel conferred

thereafter, but plaintiffs were unwilling to accept anything less than a global search in response

to the Citation and Subpoena. (Id. ¶ 8.) BTMU thus has no choice but to make this motion.

                                            ARGUMENT

         If citations and subpoenas like those at issue in this case can be applied extraterritorially

to banks merely because they maintain a branch in Chicago, Illinois courts would be vested with

roving power over bank accounts throughout the world and enjoy virtually unbounded power to

freeze assets associated with those accounts and impose significant obligations on the banks that

hold them – regardless of whether those accounts bear any connection to Illinois at all. There is,

however, no basis under federal or Illinois law to afford the Citation and Subpoena any such

extraterritorial effect.1

I.       BTMU Is Not Subject to Personal Jurisdiction in Illinois Sufficient To Give the
         Citation and Subpoena Extraterritorial Reach.

         In Daimler AG v. Bauman, 134 S. Ct. 746 (2014), the Supreme Court fundamentally

altered the extent to which a foreign corporation may be subjected to legal process in the United

States. The Court rejected a rule of personal jurisdiction in which a foreign corporation is

subject to “general jurisdiction in every State in which [it] engages in a substantial, continuous,

and systematic course of business.” Id. at 761 (quotation marks omitted). Finding such a rule to

be “unacceptably grasping” – and inconsistent with the Due Process Clause of the Fourteenth

Amendment – the Court held that “[w]ith respect to a corporation, the place of incorporation and

     1
        BTMU may intervene as of right under Rule 24 “for the limited purpose of moving to quash” the
Citation and Subpoena in order to protect its interest in avoiding an unlawful and unwarranted response.
Barker v. Local 150, IUOE, AFL-CIO, 2010 WL 934068, at *2 (N.D. Ill. Mar. 11, 2010).



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principal place of business are paradig[m] . . . bases for general jurisdiction.” Id. at 760, 761

(quotation marks omitted). Other than “in an exceptional case” where a corporation’s contacts

with some other place are so substantial as to render it “essentially at home,” general jurisdiction

exists only in those two places. Id. at 760-61 & n.19; see also Kipp v. Ski Enter. Corp. of Wisc.,

783 F.3d 695, 698 (7th Cir. 2015) (corporation is subject to general jurisdiction in “only two

places” – its principal place of business and its place of incorporation).

        Obtaining personal jurisdiction is a constitutionally necessary precondition to “a State’s

authority to bind a nonresident defendant to a judgment of its courts.” Walden v. Fiore, 134 S.

Ct. 1115, 1121 (2014). Indeed, the Citation and Subpoena apply to BTMU “only if the court has

personal jurisdiction over it.” Our Lady of Bellefonte Hosp. v. Ashland GI Servs., LLC, 2012

WL 787199, at *3 (N.D. Ill. Mar. 9, 2012).2 Daimler’s dramatic alteration of the general

jurisdiction standard is highly relevant because BTMU is both incorporated under the laws of,

and headquartered in, Japan. In the wake of Daimler, the Second Circuit held that there was “no

basis consistent with due process for the district court [in New York] to have exercised general

jurisdiction” over a Chinese bank that maintained a branch in New York, and vacated an order

compelling an extraterritorial asset restraint and a discovery order. Gucci Am., Inc. v. Bank of

China, 768 F.3d 122, 135 (2d Cir. 2014).3 BTMU likewise is not subject to general jurisdiction

in Illinois merely because it maintains a small branch in Chicago that is responsible for less than

one-tenth of 1% of BTMU’s total gross operating profit. (Cunningham Decl. ¶ 6.) When

compared to its operations in Japan – its place of incorporation and headquarters – BTMU’s
    2
         The need for a careful assessment of personal jurisdiction is particularly acute in this case, given
that plaintiffs are seeking to enforce a default judgment entered without a litigated determination on the
question of whether absent defendants were themselves subject to the Court’s personal jurisdiction.
    3
        See also Motorola Credit Corp. v. Uzan, 2015 WL 5613077, at *2 (S.D.N.Y. Sept. 9, 2015) (no
general jurisdiction over non-party banks who received post-judgment subpoenas when banks’ country of
incorporation and headquarters were outside of New York).



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operations in Illinois are not “so substantial and of such a nature as to render” BTMU essentially

at home in Illinois. Daimler, 134 S. Ct. at 761 n.19. Indeed, they are not even close.

          In the absence of general jurisdiction, the only other permissible basis to subject BTMU

to legal process in the United States is specific jurisdiction. To invoke such jurisdiction, the

relief being sought from BTMU “must be linked to the activities or contacts [of BTMU] with the

forum.” Kipp, 783 F.3d at 698; see also Walden, 134 S. Ct. at 1121 (for specific jurisdiction,

“defendant’s suit-related conduct must create a substantial connection with the forum State”).

BTMUIL did not locate any information or assets relating to the Judgment Debtors, and its

personnel do not have access to information about the Judgment Debtors, if any, at branches

outside of the United States. (Cunningham Decl. ¶¶ 8-11.) BTMUIL’s contacts with Illinois

thus have no connection at all with the underlying litigation or the Judgment Debtors. Because

BTMU’s contacts with Illinois must directly relate to the relief that plaintiffs seek from BTMU –

i.e., access to the banking activity of BTMU branches overseas – there is no constitutionally

permissible basis “[t]o support an exercise of specific personal jurisdiction” over BTMU. N.

Grain Mktg., LLC v. Greving, 743 F.3d 487, 492 (7th Cir. 2014); see also Hill v. Capital One

Bank (USA), N.A., 2015 WL 468878, at *8 (N.D. Ill. Feb. 3, 2015) (no specific jurisdiction over

bank because parties’ controversy did not arise out of bank’s forum-related activity).4

II.       The Presumption Against Extraterritorial Application Precludes Construing the
          Citation To Have Effect Outside of the United States.

          Even if BTMU were subject to personal jurisdiction in Illinois, the Illinois judgment-

enforcement statute pursuant to which plaintiffs issued the Citation does not have extraterritorial

      4
         SEC v. Homa, 514 F.3d 661 (7th Cir. 2008), in which the court held pre-Daimler and Walden that
it had personal jurisdiction over two individuals who violated an asset freeze ordered by the district court,
does not compel a different result. The court expressly premised its ruling on the individuals’ U.S.
citizenship. Id. at 675 (“[A]s citizens of the United States, [individuals] were required, once they had
adequate notice, to obey the order of a United States court directed at them and their activities.”).



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reach and thus cannot compel action outside the United States. The Supreme Court recently re-

affirmed the importance of the “canon of statutory interpretation known as the presumption

against extraterritorial application.” Kiobel v. Royal Dutch Petroleum Co., 133 S. Ct. 1659,

1664 (2013). The Illinois Supreme Court also recognizes “the long-standing rule of construction

in Illinois which holds that a statute is without extraterritorial effect unless a clear intent in this

respect appears from the express provisions of the statute.” Avery v. State Farm Mut. Auto. Ins.

Co., 835 N.E.2d 801, 852 (Ill. 2005) (quotation marks omitted). The presumption is important

because it “helps ensure that the Judiciary does not erroneously adopt an interpretation of” law

“that carries foreign policy consequences not clearly intended by the political branches.” Kiobel,

133 S. Ct. at 1665. Accordingly, “[w]hen a statute gives no clear indication of an extraterritorial

application, it has none.” Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247, 255 (2010).

        Plaintiffs served the Citation pursuant to the judgment-enforcement procedures in

Rule 1402 of the Illinois Code of Civil Procedure. 735 ILCS 5/2-1402. Rule 1402 gives no

indication that it was intended to apply extraterritorially. Indeed, to the extent that there are

indications in Rule 1402 at all, they undermine any suggestion that the legislature intended the

rule to reach Japan or other foreign nations. Rule 1402(b) identifies Illinois and U.S. federal law

as sources of certain exemptions to the judgment-enforcement process, but does not mention

foreign law. Rule 1402(b-5) seeks the identification of the dollar value of assets, but does not

mention foreign currency, and Rule 1402(e) states that seized property is to be “delivered to the

sheriff,” a local official in Illinois. Notably, in Gates v. Syrian Arab Republic, 2013 WL

1337214 (N.D. Ill. Mar. 29, 2013), Judge Kendall considered the geographic reach of turnover

proceedings under Rule 1402 and held that her ruling “should not be expanded beyond” assets

held by a “domestic corporation” and did not reach “the assets of foreign entities.” Id. at *3 n.2.




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This Court similarly should hold that the Citation has no effect in foreign jurisdictions.

III.   Under the Separate Entity Rule, a Citation and Subpoena Served on
       BTMUIL Cannot Reach Other BTMU Branches in Japan or Elsewhere.

       The “separate entity rule” is a longstanding principle of banking law pursuant to which

each branch of a bank must be treated as a separate entity in the judgment-enforcement context.

Just last year, the New York Court of Appeals reaffirmed the validity of this important rule,

holding that it “prevents a judgment creditor from ordering a garnishee bank operating branches

in New York to restrain a judgment debtor’s assets held in foreign branches of the bank.”

Motorola Credit Corp. v. Standard Chartered Bank, 21 N.E.3d 223, 224 (N.Y. 2014). Three

basic rationales give rise to the rule: it (i) recognizes the importance of “international comity and

the fact that any banking operation in a foreign country is necessarily subject to the foreign

sovereign’s own laws and regulations;” (ii) “protect[s] banks from being subject to competing

claims and the possibility of double liability;” and (iii) avoids “the intolerable burden that would

otherwise be placed on banks to monitor and ascertain the status of bank accounts in numerous

other branches.” Id. at 226-27 (quotation marks omitted).

       Since Illinois substantially revised its judgment-enforcement regime via the enactment of

Rule 1402 in 1982, the courts have not had an occasion to expressly consider the applicability of

the separate entity rule to a post-judgment citation or subpoena like the ones at issue here. The

Illinois judgment-enforcement rules were, however, modeled substantially on New York law –

so much so that the Illinois Appellate Court has observed that Rule 1402 “should be construed

just as the New York statute.” Bank of Aspen v. Fox Cartage, Inc., 141 Ill. App. 3d 369, 490

N.E.2d 145, 147 (Ill. App. Ct. 2d Dist. 1986) (quotation marks omitted). In addition, in a closely

related context, Judge Gettleman concluded that the Illinois Supreme Court would adopt the

separate entity rule and held that the service of a garnishment summons on the Chicago branch of



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a Swiss bank “[did] not reach assets held in Switzerland.” In re Estate of Marcos Human Rights

Litig., 1997 WL 428544, at *2 (N.D. Ill. July 24, 1997).

       In In re Marriage of Kosmond, the court cited a 100-year old case for the proposition that

Illinois “does not follow” the separate entity rule and declined to revisit that ruling in the pre-

judgment context because all of the parties involved in the action were subject to “in personam

jurisdiction” in Illinois. 357 Ill. App. 3d 972, 830 N.E.2d 596, 601 (Ill. App. Ct. 1st Dist. 2005)

(citing Bank of Montreal v. Clark, 108 Ill. App. 163, 166-67 (Ill. App. 1903)). This Court should

revisit and apply the separate entity rule in these post-judgment proceedings. First, the

justification for the holding in Bank of Montreal – that branch banks are agents of the main bank

for all purposes – “has been rejected generally by numerous courts throughout the country.”

Marcos, 1997 WL 428544, at *4. Second, the rationales for the separate entity rule identified by

the New York Court of Appeals compel application of the rule on the present facts: as addressed

in detail in Part IV, infra, construing the Citation and Subpoena to apply to other BTMU

branches in Japan and elsewhere would expose BTMU to, at least, civil liability and double

liability to plaintiffs and the Judgment Debtors. Third, and perhaps most important, the Supreme

Court’s decision in Daimler imposed new limits on personal jurisdiction that were not in place

when Kosmond (or Bank of Montreal) was decided. Indeed, in the wake of the Supreme Court’s

limitations on personal jurisdiction and its admonition against applying statutes extraterritorially,

the separate entity rule provides a ready mechanism for the Court to “construe [Rule 1402] so as

to uphold [its] constitutionality and validity.” Ill. Crime Investigating Comm’n v. Buccieri, 224

N.E.2d 236, 239 (Ill. 1967). Thus, even assuming that this Court has jurisdiction over BTMU

and that Rule 1402 applies extraterritorially, a citation and subpoena served on BTMUIL still

cannot reach assets and information held at other BTMU branches in Japan and elsewhere.




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IV.       Under Principles of Comity, the Citation and Subpoena Should Not Compel
          Compliance in Violation of the Laws of Japan and Other Countries.

          Illinois courts readily recognize principles of comity, pursuant to which they “may take

notice of, and defer to, the laws and judicial decisions of a foreign jurisdiction out of respect,

goodwill and cooperation.” Ransom v. A.B. Dick Co., 289 Ill. App. 3d 663, 682 N.E.2d 314, 319

(Ill. App. Ct. 1st Dist. 1997). Under Illinois law, it is an abuse of discretion for a court to fail to

conduct a comity analysis when the court’s decision will have an impact on a non-party’s ability

to comply with a foreign jurisdiction’s law. Id. at 320; see also United States v. First Nat’l Bank

of Chicago, 699 F.2d 341, 345-47 (7th Cir. 1983) (reversing enforcement of IRS summons where

Greek bank would face criminal liability for disclosure of client information located in Greece).

          Here, construing the Citation and Subpoena to have extraterritorial effect would compel

BTMU to violate the laws of its home jurisdiction, Japan, and expose BTMU to civil liability and

possible regulatory and criminal sanctions. In particular, it “is unlawful under Japanese law for

Japanese commercial banks such as BTMU . . . to disclose information about customer accounts

in Japan, to freeze such accounts, or to transfer funds from such accounts to or for the benefit of

a judgment creditor outside of Japan absent an execution judgment . . . from a Japanese court.”

(Declaration of H. Inoshita, Oct. 21, 2015, ¶ 9(b).) Compliance with the Citation and Subpoena

would expose “the bank, its officers, and employees” to “civil liability and possible regulatory or

criminal sanctions.” (Id.) The Japanese Financial Services Agency – the functional Japanese

equivalent of the Office of the Comptroller of the Currency and BTMU’s primary regulator –

could even rescind BTMU’s license. (Id. ¶ 25.)5


      5
       Compliance with the Citation and Subpoena also may be barred by the laws of other countries in
which BTMU maintains branches, e.g., the United Kingdom, Germany and Russia. BTMU has not
analyzed the laws of the more than 40 countries in which it operates, but could, if necessary, and within a
reasonable period of time, provide such an analysis at the Court’s request.



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        If the Citation were to apply to assets in Japan, BTMU also could be faced with double

liability – having to pay plaintiffs in Illinois in satisfaction of the judgments without being

relieved of its debt to the Judgment Debtors, if any, in Japan. When a domestic garnishee bank

is ordered to turn over assets in Illinois, it is protected from the risk of double liability by statute.

735 ILCS 5/12-712. But in this case, BTMU would remain subject to Japanese law, and the

Illinois statutory protection would not apply. (Inoshita Decl. ¶ 23.)6

        In Kosmond, the court held that it was an “abuse of the [trial] court’s discretion” to enter

an order freezing a bank account in Germany without first conducting an evidentiary hearing

concerning whether the order would cause the garnishee bank to violate German law. 830

N.E.2d at 602. That principle should apply a fortiori here, given that the Citation and Subpoena

are lawyer-issued documents that never were reviewed by a judge. Indeed, applying the logic of

Kosmond compels the conclusion that post-judgment citations and subpoenas like those here

cannot have extraterritorial reach because their issuance is not preceded by a comity analysis.

        Plaintiffs also have a means of enforcing their judgments in Japan by initiating a judicial

proceeding there. The Japanese Civil Execution Act and Code of Civil Procedure “provide a

mechanism for a judgment creditor to enforce a foreign judgment.” (Inoshita Decl. ¶ 12.)

        BTMUIL has complied in good faith with the Citation and Subpoena to the extent that it

is able to do so in Illinois. Because extraterritorial compliance would violate Japanese law (and

potentially other countries’ laws) and expose BTMU to liability, and because an alternative

mechanism exists by which plaintiffs can enforce their judgments, the Citation and Subpoena

should be quashed insofar as they apply outside of Illinois.

    6
        The same may be true in other countries in which BTMU operates. Because this Court cannot
provide BTMU with any protection against such double liability, construing the Citation to apply to assets
in Japan (or elsewhere) would violate the Due Process Clause of the Fourteenth Amendment. U.S. Const.
Amend. XIV, § 1, cl. 3; W. Union Telegraph Co. v. Pa., 368 U.S. 71, 75 (1961).



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V.        The FSIA Does Not Permit the Restraint of Assets Outside of the United States.

          The Citation also is invalid under the FSIA, 28 U.S.C. § 1602 et seq., to the extent that it

seeks to reach assets of the Judgment Debtors outside the United States.7 “The FSIA did not

purport to authorize execution against a foreign sovereign’s property, or that of its

instrumentality, wherever that property is located around the world. We would need some hint

from Congress before we felt justified in adopting such a breathtaking assertion of extraterritorial

jurisdiction.” Autotech Techs. LP v. Integral Research & Dev. Corp., 499 F.3d 737, 750 (7th Cir.

2007).8 FSIA Section 1610(g), the basis for the Citation, contains no indication that Congress

intended it to apply abroad.9 Courts applying Section 1610(g) thus have applied it only to assets

in the United States. E.g., Gates v. Syrian Arab Republic, 755 F.3d 568, 573 (7th Cir. 2014)

(Section 1610(g) “allow[s] attachment of assets in the United States”); Peterson v. Islamic

Republic of Iran, 2008 WL 5046327, at *1 n.1 (N.D. Cal. Nov. 24, 2008) (“doubtful”

Section 1610(g) “reach[es] property outside of the United States”), aff’d, 627 F.3d 1117, 1123

n.2 (9th Cir. 2010) (“judgment creditors can now reach any U.S. property in which Iran has any

interest”).10 Accordingly, insofar as the Citation seeks to restrain assets of a sovereign outside of



     7
         Courts must address sovereign immunity questions whenever they arise and regardless of who
raises them. Rubin v. Islamic Republic of Iran, 637 F.3d 783, 799 (7th Cir. 2011).
     8
        To the extent that the Citation seeks to reach assets of Iran’s central bank, any such assets are
separately protected from restraint. 28 U.S.C. § 1611(b)(1). A plaintiff seeking to restrain such property
must “rebut th[e] presumption [of immunity] by demonstrating with specificity that the funds [were] not
being used for central banking functions.” NML Capital, Ltd. v. Banco Central de la República
Argentina, 652 F.3d 172, 194 (2d Cir. 2011). Plaintiffs here have not even attempted to do so.
     9
      The legislative history of Section 1610(g), which was added to the FSIA as part of the National
Defense Authorization Act of 2008, Pub. L. No. 110-181, § 1083 (2008), also does not contain any
indication that Congress intended Section 1610(g) to apply extraterritorially.
     10
      This principle of law does not yield when the acts of sovereign are reprehensible, and there are
many reported cases recognizing the sovereign immunity of assets of Iran where appropriate. See, e.g.,
Rubin, 637 F.3d at 800 (Iran’s property in United States is presumed immune from attachment absent a



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the United States, it is invalid because those assets retain their full immunity from attachment

and execution.11

VI.        Requiring a Global Search for Assets, Documents and Information Would Subject
           BTMU to Unnecessary and Improper Burdens.

           Even if the above legal deficiencies did not apply, requiring BTMU to (i) perform a

global search for assets, documents and information and (ii) restrain assets would make the

Citation and Subpoena unduly burdensome. BTMU’s “[n]on-party status is a significant factor

to be considered” in determining whether the burdens imposed by the Citation and Subpoena are

undue. Tresona Multimedia, LLC v. Legg, 2015 WL 4911093, at *2 (N.D. Ill. Aug. 17, 2015).

With branches in over 40 countries, BTMU would need to implement a vast and unprecedented

search if the Citation and Subpoena were given global reach. (Cunningham Decl. ¶ 3.)

Imposing such a burden on a non-party goes well beyond the limits of reasonableness.

VII.       Application of Rule 1402 Abroad Would Violate the Dormant Commerce Clause.

           The extraterritorial application of Rule 1402 also would be unconstitutional because it

would regulate commerce wholly outside of Illinois, infringing upon the so-called “dormant”

powers reserved for the federal government under the Commerce Clause of the U.S. Constitution.

U.S. Const. Art. I, § 8, cl. 3. These dormant powers (referred to as the Dormant Commerce

Clause) preclude state interference with national and particularly international commerce

regardless of whether the federal government has actively regulated the subject area.

Specifically, “[t]he negative or dormant implication of the Commerce Clause prohibits state

taxation or regulation that discriminates against or unduly burdens interstate commerce and

showing that an exception to immunity applies); Peterson, 627 F.3d at 1131-32 (“Iran’s rights to
payment . . . are not ‘property in the United States’ and are immune from execution.”).
      11
        The Citation also references Section 201(a) of the Terrorism Risk Insurance Act (Viapiano Decl.,
Ex. A at 2), but that section applies only to “blocked assets,” Pub. L. No. 107-297, § 201(a), 116 Stat.
2322, 2337 (2002), which, by definition, are in the United States.



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thereby impedes free private trade in the national marketplace.” Selevan v. N.Y. Thruway Auth.,

584 F.3d 82, 90 (2d Cir. 2009) (quotation marks omitted).

       If a statute “directly regulates or discriminates against interstate commerce,” it is

unconstitutional per se and courts “generally str[ike] down the statute without further inquiry.”

Alliant Energy Corp. v. Bie, 330 F.3d 904, 911 (7th Cir. 2003) (quotation marks omitted).

Alternatively, if a statute “has only indirect or incidental effects on interstate commerce and

regulates evenhandedly,” it violates the Dormant Commerce Clause when the “burden imposed

on such commerce is clearly excessive in relation to the putative local benefits.” Id. (quotation

marks omitted). Extraterritorial application of Rule 1402 fails both tests.

       Applying Rule 1402 extraterritorially is unconstitutional per se. As the Supreme Court

has held, “the Commerce Clause . . . precludes the application of a state statute to commerce that

takes place wholly outside of the State’s borders, whether or not the commerce has effects within

the State.” Healy v. Beer Inst., 491 U.S. 324, 336 (1989) (quotation marks omitted). This is

because a “statute that directly controls commerce occurring wholly outside the boundaries of a

State exceeds the inherent limits of the enacting State’s authority.” Id. “The critical inquiry is

whether the practical effect of the regulation is to control conduct beyond the boundaries of the

State.” Id. An extraterritorial state law is evaluated “not only by considering the consequences

of the statute itself, but also by considering how the challenged statute may interact with the

legitimate regulatory regimes of other States and what effect would arise if not one, but many or

every, State adopted similar legislation.” Id.

       Here, if Rule 1402 required BTMU to restrain assets in Japan or elsewhere, it would

directly regulate banking activity entirely outside of Illinois (and even the United States), without

regard for foreign law. Such extraterritorial reach also risks creating a judgment-enforcement




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regime that, if replicated, would create inconsistent obligations for garnishees subject to personal

jurisdiction in other states or countries. For example, if two or more states allowed turnover of

restrained assets outside of the state, a non-party over which both states’ courts claim to have

personal jurisdiction could be ordered to transfer the same asset to two different places. This is

precisely the sort of extraterritorial regulation that impermissibly burdens interstate commerce.

See Healy, 491 U.S. at 336-37.12 A similar rule adopted by foreign jurisdictions would

impermissibly invade the province of Illinois and United States law. That is, foreign courts with

extraterritorial restraining power could freeze bank accounts in the United States. This is likely

why foreign courts and legislatures confronting extraterritorial garnishment or restraint have

found that they lack the power to levy upon assets outside their borders.13 Extraterritorial

application of Rule 1402 would place Illinois squarely in conflict with the laws of numerous U.S.

allies and trading partners. Rule 1402 cannot, therefore, withstand the “even greater scrutiny”

under which the application of the law to international commerce must be evaluated. Nat’l

Foreign Trade Council v. Narsios, 181 F.3d 38, 65 (1st Cir. 1999).

         In the alternative, even if Rule 1402 were not unconstitutional per se, it still would

violate the Dormant Commerce Clause because the burden imposed on interstate commerce from

application in Japan is excessive in relation to any benefit here. A state law is unconstitutional if

“the burden imposed on interstate commerce is clearly excessive in relation to the putative local

    12
        It is thus unsurprising that courts in virtually every state that has considered whether their
judgment-enforcement laws have extraterritorial reach have concluded that they do not. E.g., Livingston
v. Naylor, 920 A.2d 34, 54 (Md. App. 2007); Ferguson v. Ferguson, 634 N.E.2d 506, 508-09 (Ind. App.
1994); Polacke v. Super. Ct. In & For Cnty. of Maricopa, 823 P.2d 84, 90-91 (Ariz. App. 1991).
    13
         E.g., Code of Civil Enforcement of Japan, Art. 24 (Law No. 4, 1979) (Japanese court enforcing a
foreign judgment must either have jurisdiction over place where assets are located or over the judgment
debtor’s domicile); Viswanathan v. Wajid, A.I.R. 1963 S.C. 1 (India) (India courts will not claim
jurisdiction “over res outside the jurisdiction,” in part “because it will not be recognised by other courts”
and because a court will generally not “deal directly or indirectly with title to immovable property outside
the jurisdiction of the State from which it derives its authority”).



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benefits.” United Haulers Ass’n, Inc. v. Oneida-Herkimer Solid Waste Mgmt. Auth., 550 U.S.

330, 346 (2007) (internal quotation marks and alterations omitted). The extraterritorial

application of Rule 1402 to allow the restraint of assets in Japan would impose significant

burdens on interstate and international commerce. First, it inarguably would conflict with

Japanese banking law. (Inoshita Decl. ¶¶ 9-16.) Second, the restraint of Iranian assets held by a

Japanese bank would directly interfere with relations between Japan and the United States and

could potentially frustrate the administration of economic sanctions in place against Iran. And, if

Rule 1402 were applied abroad, it would vest Illinois courts with authority to freeze assets held

by any international bank anywhere in the world, so long as the bank has a branch in Illinois.

         Further, any interest of Illinois in enforcing judgments is no greater than that of any sister

state or other countries. Thus, Rule 1402, when extraterritorially applied, imposes significant

burdens on interstate commerce with only minimal, if any, benefit to Illinois, and is

unconstitutional. See Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970).14

                                              CONCLUSION

         For the foregoing reasons, the Court should permit limited intervention and quash the

Citation and Subpoena insofar as they purport to apply outside of Illinois.15


    14
          The extraterritorial application of Rule 1402 also is unconstitutional because it would usurp the
federal government’s exclusive powers over foreign affairs. U.S. Const. art. I, § 8, cls. 1, 3, 4, 10, 11; § 9,
cl. 8; art. II, § 2, cls. 1, 2; § 3; art. III, § 3, cl. 2. As the Supreme Court has held, “involvement in foreign
affairs and international relations” is “forbidden state activity.” Zschernig v. Miller, 389 U.S. 429, 436
(1968). Rule 1402 thus cannot be interpreted to restrain funds outside of the United States because doing
so would interfere with the federal government’s exclusive power to set foreign policy.
    15
         On October 21, 2015, after counsel had met and conferred about the Citation and Subpoena,
plaintiffs served a subpoena on BTMUIL purporting to compel a corporate representative to testify about
“the details of all financial accounts” of the Judgment Debtors or their affiliates “maintained by [BTMU
and] located anywhere in the world.” (Viapiano Decl., Ex. E at 4.) Putting aside that a deposition is far
from the most efficient means of obtaining such information, the subpoena is duplicative of the Citation,
which purports to require a witness to appear and testify, and, to the extent that it seeks information
outside of Illinois, improper for all of the foregoing reasons. BTMU intends to move to quash.



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Dated: October 22, 2015

                                          Respectfully submitted,

Bruce E. Clark                            /s/ Christopher M. Viapiano
Bradley P. Smith                          Christopher M. Viapiano
SULLIVAN & CROMWELL LLP                   SULLIVAN & CROMWELL LLP
125 Broad Street                          1700 New York Avenue, N.W., Suite 700
New York, New York 10004                  Washington, D.C. 20006
Tel.: (212) 558-4000                      Tel.: (202) 956-7500
Fax: (212) 558-3588                       Fax: (202) 956-7056
clarkb@sullcrom.com                       viapianoc@sullcrom.com
smithbr@sullcrom.com
                                          Britt M. Miller
Of Counsel                                MAYER BROWN LLP
                                          71 South Wacker Drive
                                          Chicago, Illinois 60606
                                          Tel: (312) 782-0600
                                          Fax: (312) 701-7711
                                          bmiller@mayerbrown.com

                                          Attorneys for non-party The Bank
                                              of Tokyo-Mitsubishi UFJ, Ltd.




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                               CERTIFICATE OF SERVICE

        I, Christopher M. Viapiano, an attorney, hereby certify that on October 22, 2015, I
caused a true and correct copy of the foregoing NON-PARTY THE BANK OF TOKYO-
MITSUBISHI UFJ, LTD.’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
FOR LIMITED INTERVENTION AND TO QUASH THE CITATION AND SUBPOENA
to be filed and served electronically via the court’s CM/ECF system. Notice of this filing will
be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                    /s/ Christopher M. Viapiano
                                                    Christopher M. Viapiano
                                                    SULLIVAN & CROMWELL LLP
                                                    1700 New York Avenue, N.W., Suite 700
                                                    Washington, D.C. 20006
                                                    Tel.: (202) 956-7500
                                                    Fax: (202) 956-7056
                                                    viapianoc@sullcrom.com
